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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

  ELI AIZENMAN,                    :
                                   :
                  Plaintiff,       :
                                   :
  v.                               :     No. 1:12-cv-04489-SJ-JMA
                                   :
  COLLECTO, INC. D/B/A             :
  EOS CCA,                         :
                                   :
                  Defendant.       :
                                   :
                       STIPULATION OF DISMISSAL

         The Plaintiff and the Defendant, by and through the undersigned, hereby

  stipulate that the above-entitled action shall be dismissed with prejudice to

  Plaintiff on his complaint and without costs and/or attorneys fees to any party.

  The court shall retain jurisdiction over the settlement.

  Date: June 5, 2013                         THE PLAINTIFF
                                             ELI AIZEMAN

                                             By:             /s/        __
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                                             THE DEFENDANT
                                             COLLECTO, INC.

                                             By:    ______/s/_____      __
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